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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT W. MAUTHE, M.D., P.C., a                    :
Pennsylvania corporation, individually and         :
as the representative of a class of similarly      :
situated persons,                                  :
                                                   :
                               Plaintiff,          :           CIVIL ACTION NO. 18-1901
                                                   :
       v.                                          :
                                                   :
MCMC LLC,                                          :
                                                   :
                               Defendant.          :

                                                ORDER

       AND NOW, this 22nd day of December, 2021, having reviewed the plaintiff’s unopposed

motion to file exhibits in support of class certification under seal (Doc. No. 99), it is hereby

ORDERED as follows:

       1.      The plaintiff’s unopposed motion to file exhibits in support of class certification

under seal (Doc. No. 99) is GRANTED;

       2.      The documents designated as exhibits C, H, I, J, and K to plaintiff’s memorandum

in support of plaintiff’s second amended motion for class certification shall remain sealed until

further order of this court; and

       3.      This court retains the right to allow disclosure of any subject covered by this order

or to modify this order at any time in the interests of justice.


                                                       BY THE COURT:



                                                       /s/ Edward Smith______
                                                       EDWARD G. SMITH, J.
